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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Steven Brown
                                           Plaintiff,
v.                                                      Case No.: 1:23−cv−15763
                                                        Honorable Franklin U. Valderrama
Datacomp Appraisal Systems, Inc., et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 22, 2023:


        MINUTE entry before the Honorable Franklin U. Valderrama: In view of the filing
of a consolidated amended complaint in Case No. 1:23−cv−06715, R. 127, this case is
administratively closed. Civil case terminated. Emailed notice (axc).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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